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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                      District of Oregon

                                                              )
                                                              )
                                                              )
    Isaacky Gavrilovich Sharipoff                             )
                            Plaintijf(s)
                                                              )
                                                              )
                                V.
                                                              )
                                                                      Civil Action No. 6: 18-cv-1659-_n        MY-
                                                              )
                                                              )
                                                              )
      Jason Myers et al                                       )
                           Defendant(s)                       )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                           (Dep) (Velasquez),or Dominick Crisafulli
                                           4000 Aumsville Hwy SE
                                           Salem, oregon (97317).



        · A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an_ officer or employee of the United States described in Fed. R. Civ.
P. 12 ( a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                       Isaacky Gavrilovich Sharipoff
                                       PO Box# 514
                                       Woodburn, Oregon (97071).



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT
